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FILED IN DISTRICT COURT -
OKLAHOMA COUNTY

DISTRICT CoURT oF oKLAHoMA CoUNTY JAN 2 9 2015

STATE OF OKLAHOMA ' TIM RHODES
- CGURT CLERK
ARLINGTON ARMS, LLC, ) QWM-~Ms..__.
)
Plaintiff, ) .
) CJ"ZOl5-593
v. ) Case No.:
)
HOUSTON SPECIALTY INSURANCE )
COMPANY and DEREK O’DANIELL, )
)
)
Defendants. )
P_E_T_M

The Plaintiff, Arlington Arms, LLC (“Arlington Anns” or “Plaintiff”), for its Petition against
the Defendants, Houston Specialty insurance Company (“Houston Specialty”) and Derek O ’Daniell
(“O’Daniell”), alleges and states`:

JURISDICTION AND VENUE

l. 'Arlington Arms is a domestic limited liability company and conducts business as an
apartment complex in Oklahoma City, State of Oklahoma.

2. Houston Specialty is an insurance company that does business in Oklahoma and
issued the subject policy of insurance to Plaintiff in Oklahoma County, Oklahoma. Houston
Specialty also handled Plaintift` s claim at issue herein in Oldahoma County, Oklahoma.

3. O’Dam`ell is an individual who resides in Oklahoma County,rOklahoma and had
direct communications with Houston Specialty regarding Plaintiff’s claim.

FACTUAL BACKGROUND

4. On or about May 29, 2612, a severe hailstorm passed through the Oklahoma City area

and caused damage to Arlington Arrns, including damage to the roof, siding, and Windows. In

addition, the damage Was so extensive that several units Were rendered uninhabitable_.

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5, Houston Specialty issued a policy of insurance to Arlington Arms, Policy No.
PRP0011NC1002, for the policy term of April 1, 2012 through April l, 2013 (hereafter the
“Policy”).

6. The Policy provided coverage for Plaintiff's buildings, business personal property,
and business income/loss of rents, subject to a $25,000.00 deductiblel Upon information and belief,
the limits of coverage under the policy are insufficient to pay all_ of the damage suffered by Plaintiff
as a result of the subject hailstorm. Plaintiff paid a premium of $20,213.76 for this policy for the
above-referenced policy term.

7. O’Daniell is a licensed public adjuster in the state of Oklahoma and Was authorized
by Plaintiff to connnum`cate With Houston Specialty on Plaintiff’s behalf in connection With the
claim. Plaintiff specifically informed O’Daniell, however, that he did not have any settlement
authority and certainly did not have the authority to make any agreements on Plaintiff s behalf.

8. lnlate 2013, Houston Specialty, through its appointed 'l`exas counsel, offered Plaintiff l
the sum 3141,714.27 and requested a full and complete release of all claims against Houston
Specialty. Plaintiff refused to sign the release presented by Houston Specialty because Plaintiff
' rejected the $141,714.27 settlement offer.

9. Houston Specialty did not tender $141.714.27 as in undisputed amount.

10. On November 19, 2014, Houston Specialty, again through its appointed Texas
counsel, took an examination under oath (“EUO”) of Plaintiff’ s designated representative, Mr. Brent
Wensauer, to ascertain the extent of Plaintiff’ s damage Mr. Wensauer reiterated during his EUO
that Plaintiff never agreed With Houston Specialty’s 3141,714.27 evaluation, and for that reason
Plaintiff rejected said offer. During Mr. Wensauer’s EUO, and shortly thereafter, he provided
Houston Specialty’s appointed Texas lawyers With additional information and documentation

supporting the amount of its claim, i.e., substantially in excess of $141,714.27.

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ll. ln addition, Plaintiff made several demands upon Houston Specialty, through its
appointed Texas counsel, to immediately and unconditionally pay the $141,714.27 as an undisputed
amount. Despite the numerous demands made by Plaintiff in that regard, Houston Specialty has
steadfastly refused to acknowledge Plaintiff s demands and/or pay the $141.714.27 to Plaintiff as
an undisputed amount.

12. l-louston Specialty has taken the position that its evaluation and offer of $141 ,7 l 4.27
Was accepted by O’Daniell on behalf of Plaintiff, and therefore, Plaintiff is not entitled to recover
anything over and above that amount At the same time, however, Houston Specialty emphatically
refuses to unconditionally pay the $141,71 4.27 to Plaintiff as the undisputed amount.

13. The damage suffered by Plaintiff as a result of the subject hailstorm exceeds the
policy limits available under the Houston Specialty policy. Although Plaintiff has provided Houston
Specialty with data from Xactimate, considered to be the standard in the industry, to date, Houston
Specialty has not furnished Plaintiff or Plaintiff’s counsel with any responsive data to support
whatever position Houston Specialty is taking in this matter. lnstead, Houston Specialty continues
to delay and drag its feet, refusing to pay Plaintiff anything, not even the $141,714.27 that it admits
it owes.

14. An insurance company doing business in Oklahoma “is held to knowledge of the
applicable'Oklahoma law and the reasonableness of its decision must be judg0ed in light of that
law.” Wz'llz`s v. MidlandRiskInsu:'ance Company, 42 F.3d 607, 612 (10th Cir. 1994), citing Timmons
v. Roya! Globe, 653 P.2d 907, 913-14 (Ol<la. 1982). Houston Specialty has demonstrated through
its action and non-actions that it has no knowledge of the applicable Oldahoma law and has not taken

appropriate steps to learn that law.

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FIRST CAUsE oF ACTION
BREACH OF CON'I`ACT - HOUSTON SPECIALTY
' The Plaintiff, Arlington Arms, for its first cause -of action adopts and incorporates the
allegations made in numerical paragraphs 1-14 above, and in addition, alleges and states:

15. Plaintiff has made demand upon Houston Specialty for payment of all insurance
benefits due up to the policy limits of the Policy, and Plaintiff has met all conditions precedent for
the payment of those policy benefits.

l 6. Houston Specialty breached its insurance contract with Plaintiff by failing to promptly
and adequately investigate Plaintiff’ s loss, by delaying its investigation and payment to Plaintiff, and
by refusing to unconditionally pay to Plaintiff what it already acknowledges it owes Plaintiff.

l 7. Now that suit has been filed, Plaintiff anticipates that Houston Specialty may choose
to unconditionally pay to Plaintiff the $141,714.27 it acknowledges it owes or pay the full amount
of the claim that it owes. However, even if Houston Specialty choose to do what it should have
already done, this does not excuse Houston Specialty from timely paying Plaintiff. Thus, Houston
Specialty’s failure to timely pay Plaintiff the undisputed amount and the full value of the claim
constitutes a breach of contract

1 3. Plaintiff has suffered damages from Houston Specialty’ s breach of contract, including
the deprivation of policy benefits, as well as incidental and consequential damagesl

WHEREFORE, the Plaintiff, Arlington -Arms, LLC prays for judgment against the
Defendant, Houston Specialty, on its first cause of action, up to the applicable policy limits for each
of its claims, plus costs, attorney fees, pre-judgment interest and all other relief to which it may be

entitledl

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SECONI) CAusE oF ACTION
Tonrious BREACH oF CoNTRAcr - HoUsroN SPEClALrY

The Plaintiff, Arlington Arms, for its second cause of action, adopts and incorporates the
allegations made in numerical paragraphs 1-18 above, and in addition, alleges and states:

19. Houston Specialty owes Plaintiff, its insured, a duty to deal fairly and in good faith.

20. Houston Specialty has failed to deal fairly and in good faith with its insured, this
Plaintiff, in several particulars For example, although Houston Specialty conveniently takes the
position that 0 ’Daniell - who had no authority to accept a settlement offer from Houston Specialty
- accepted the low-ball $141,714.27 evaluation and offer by Houston Specialty, Houston Specialty
has refused to unconditionally pay that undisputed amount to Plaintiff, despite Plaintiff s repeated
requests for same Plaintiff has desperately needed that money to begin repairs. ln addition-, because
some of these apartment units were rendered uninhabitable by the hailstorm, they have not been
repaired to date, and thus, Arlington Arms has not been able to rent them out to other tenants. As
a result, Plaintiff continues to lose rent money on a monthly basis. Houston Specialty cares not about
Plaintiff"s precarious situation.

21. lnstead, l-louston Specialty has recommended mediation so that it can pay less than
what it owes. Houston Specialty even refuses to pay for Plaintiff”s portion of the mediation fee
This conduct is reprehensible and a grotesque act of bad faith.

22, The acts and conduct of Houston Specialty, described above, were and continue to
be reckless, intentional, wanton and oppressive They warrant the imposition of punitive damages
against Houston Specialty; as punishment and example to Houston Specialty, and to deter others

from like conduct

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WHER_EFORE, Plaintiff prays for judgment against Houston Specialty in an amount in
excess of $?5,000.00, costs of this action, attorneys fees, interest at the rate allowed by law and any
further relief this Court deems equitable and proper. '

THIRD CAUSE oF ACTION
NEGLIGENCE - O’DAanLL

The Plaintiff, Arlington Arms, adopts and re-alleges the allegations contained in numerical
l paragraphs 1-22 above and, in addition, alleges and states:

23. l-louston Specialty has argued that O’Daniell accepted its $141.714.27 unreasonable
settlement offer. Upon information and belief, O’Daniell emphatically rejects _Houston Specialty’s
position in this regard and Plaintiff clearly rejects it as well. Likewise, O’Daniell and Plaintiff deny
that O’Daniell had authority to accept any settlement offers or that O’Daniell led I-louston Specialty
to believe he was vested with any settlement authority.

24. Nonetheless, in the event it is detemiined that O’Daniell was cloaked with full
settlement authority and did accept the low-ball $141.7714.27 offer made by Houston Specialty, then,
and in that event, O’Daniell would be liable to Plaintiff for his own negligence in allowing Houston
Specialty to believe he had authority to enter into settlement agreements with Houston Specialty on
behalf of Plaintiff

25. As result of O’Daniell’s negligence in that regard, as described above, Plaintiff has
been damaged

WHEREFORE, in the event it is determined that O’Daniell had authority to enter into
settlement agreements on behalf of Plaintiff and that O’Daniell accepted Houston Specialty’s

$141,714.27 settlement offer, then, and in only in that event, Plaintiff prays for judgment against

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O’Daniell for an amount that would completely compensate Plaintiff for its losses sustained as a

result of the May 29, 2012, hailstorm.

Respectfully submitted,

  

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.TURY TRIAL DEMANDED

